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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

WORCESTER, ss.
                                               )
 In re:                                        )       Chapter 7
                                               )       Case No. 23-40709-CJP
 WESTBOROUGH SPE LLC,                          )
                                               )
                                Debtor.        )
                                               )

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

Lolonyon Akouete, creditor of Westborough SPE LLC ("the Debtor"), hereby moves this
Honorable Court for relief from the automatic stay pursuant to 11 U.S.C. § 362(d) to pursue a
definitive judgment on the claim against the Debtor. In support of this motion, the creditor states as
follows:

    Background and Justification for Relief
      2Q2FWREHUDQ2UGHUIRU5HOLHIXQGHU&KDSWHURIWKH%DQNUXSWF\&RGHZDV
      HQWHUHGUHJDUGLQJ:HVWERURXJK63(//& WKH'HEWRU , and Jonathan Goldsmith was
      appointed as the Chapter 7Trustee. Subsequent to this filing, the creditor, Lolonyon
      Akouete, filed a timely proof ofclaim based on debts owed by the Debtor.
    Nature of the Dispute
      Despite the Trustee's acknowledgment of sufficient assets in the estate to cover all creditor
      claims, the Trustee has indicated an intention to challenge the amount and validity of the
      claim filed by the creditor. The creditor believes that obtaining a judgment in a court of
      competent jurisdiction is essential to establish the amount owed definitively and thusprotect
      the creditor's right to proper treatment under the bankruptcy code.
    Request for Relief from Stay
      The creditor respectfully requests relief from the automatic stay for the following reasons:
          o Substantial Asset Base: The estate has sufficient assets to cover all creditor claims,
              mitigating any potential detriment to the estate from this action.
          o Equity Among Creditors: There is a need to ensure equitable treatment among all
              creditors, especially given indications of potential preferential treatment towards
              certain parties by the Trustee.
          o Precedent in Similar Cases: Similar relief has been granted in other cases within
              this jurisdiction where clarifying the amount of a creditor's claim was necessary to
              ensure fair and orderly distribution of the estate.
    Threats and Coercion by Trustee
      The creditor has faced undue pressure and threats from the Trustee to accept settlement
      terms that may undervalue the creditor's legitimate claim. Such actions warrant the court's
      intervention to allow independent adjudication of the claim's validity and amount.
    Legal and Equitable Grounds for Relief
      Granting this relief is in the best interest of justice and equity. It will allow the creditor to
      establish the claim's amount through adjudication, thus enabling the Trustee and the court to
      make informed decisions regarding the distribution of the estate's assets.
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Conclusion and Request for Relief
Based on the above reasons, Lolonyon Akouete respectfully requests that this Court grant relief
from the automatic stay to pursue a judgment confirming the amount of the debt owed by the
Debtor. The creditor proposes that this motion be set for hearing at the earliest convenience of the
Court.

DATED: April 17, 2024, 2024, Respectfully submitted:

                                                      By creditor,




                                                      Lolonyon Akouete
                                                      800 Red Milles Rd
                                                      Wallkill
                                                      W llkill NY 12589
                                                      info@smartinvestorsllc.com
                                                      (443) 447-3276
Smart Investors LLC Mail - Settlement Negotiations for Westborough ...        https://mail.google.com/mail/u/0/?ik=92640d9856&view=pt&search=a...
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                                                               Exhibit 1
                                                                                   Lolonyon Akouete <info@smartinvestorsllc.com>



          Settlement Negotiations for Westborough SPE LLC - Case No. 23-40709
          Jonathan Goldsmith <jgoldsmith@gkalawfirm.com>                                                 Wed, Mar 20, 2024 at 12:10 PM
          To: Lolonyon Akouete <info@smartinvestorsllc.com>


            Please see my responses below:




            From: Lolonyon Akouete <info@smartinvestorsllc.com>
            Sent: Wednesday, March 20, 2024 6:33 AM
            To: Jonathan Goldsmith <jgoldsmith@gkalawfirm.com>
            Subject: Selement Negoaons for Westborough SPE LLC - Case No. 23-40709


            Jonathan,

            I hope things are going well for you. While I'm disappointed that we need more time, I understand that there must be a
            good reason for it. Before I start any adversarial proceedings to protect my interests, I'd like to clarify a few things.

            During yesterday's hearing, you mentioned that creditors would be paid in full. Does that include my claim as well?
            Also, I'm curious if the $1.2 million we received from California is in an account that's earning interest. Additionally, I'm
            getting past-due notices from The Incorporators LTD. Could you please let me know when those bills will be taken
                                                                    p y allowed creditor claims. Regarding
            care of? There are expected to be sufficient funds to pay                                g     g the claims filed,, there are
                                                                                           pp p
            a few that will need to be addressed as I don’t believe the claim amount is appropriate    and/or there is insufficient
                                   pp same.
            documentation to support    same So there is no misunderstanding, two of the claims I have issue with is the one filed
            by you and the one filed by Ms. Edwards. At the appropriate time, I will address these claims. In term of the funds
            turned over from California, they are held in an estate escrow account at a financial institution approved by the Office
            of the United States Trustee. This financial institution is the same one I use for all my Trustee cases.

            It appears that the settlement is trying to get Westborough SPE LLC to pay David Ferris so that he can allow the town
            to sell the property to Lax Media LLC. However, this isn't fair because even if Lax Media offers more money, the funds
            will only go to David Ferris as a payoff and won't benefit Westborough SPE LLC in any way. This makes the
            settlement inappropriate, and they're making the case sound complicated by asking for more time and delaying the
            process unnecessarily. Once the Settlement is filed with the Court, parties in interest will have an opportunity to file
            objections to the settlement if they deem it warranted.

            The case is straightforward and can be resolved in a single hearing. The court just needs to determine whether
            Westborough SPE LLC is the record owner of the property and if Denise Edward and I are the successor managers of
            the entity. Additionally, they need to establish whether the entity has the funds to pay the taxes. It’s not straight
            forward at all, including the fact that there is a valid dispute as to you and Ms. Edwards status as successor managers
            of the Debtor.

            I hope that David Ferris isn't doing this just to get money from Westborough SPE LLC as the entity has already
            suffered from gross mismanagement and breach of fiduciary duty. It would be unfair for him to take advantage of
            Westborough SPE LLC as well. Again, there will be an opportunity for parties in interest to object to the settlement.
            I've included the recording of the original hearing that started the foreclosure proceeding, please take a look.

            Thank you for your consideration.

            [Quoted text hidden]




1 of 1                                                                                                                            4/17/2024, 7:25 PM
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                                                         Exhibit 2
                                                                                Lolonyon Akouete <info@smartinvestorsllc.com>



         In re Westborough SPE LLC - FOR SETTLEMENT PURPOSES ONLY
         Lolonyon Akouete <info@smartinvestorsllc.com>                                         Fri, Feb 9, 2024 at 4:25 PM
         To: "Scott A. Schlager" <sas@natgolaw.com>
         Cc: "jgoldsmith@gkalawfirm.com" <jgoldsmith@gkalawfirm.com>, "sgordon@gordonfirm.com"
         <sgordon@gordonfirm.com>, "deniseedwards818@yahoo.com" <deniseedwards818@yahoo.com>, "Lenard B. Zide"
         <zide@buttersbrazilian.com>

           Scott,

           Thank you for informing me that the trustee will retaliate by fighting my proof of claim.
           I just want to remind you that Compensation for standard or probate unclaimed property claims, as well as general
           claims and administrative appeals proceedings, is dictated by State law. However, if a claim escalates to litigation,
           statutory fees outlined in state law no longer apply.

           So, MGI C 200A Section 13 will not apply in this case.

           If the trustee wanted to fight my claim, he would be dragging this case further.

           Please note the last three attachments, which are cases where the court orders a 20% payment to the unclaimed
           property investigator. And if you look at the proportion of the amounts, the owner and the investigator get is almost
           50%.


           Lolonyon Akouete

           Manager of Westborough SPE, LLC

           1241 Deer Park Ave., Suite 1, #1051

           North Babylon, NY 11703

           info@smartinvestorsllc.com

           (443) 447-3276


           [Quoted text hidden]


            6 attachments
                 Contingency Fee Unclaimed Property.pdf
                 259K
                 Statutory Compensation Unclaimed Property.pdf
                 106K
                 Statutory Fees Unclaimed Property.pdf
                 109K
                 03885770.pdf
                 108K
                 FN{052BD2E7-2E08-4CF5-8ADB-5E2831CB7052}{F6FED901-556C-4B8C-ADAA-9621149CEF9D}-0.PDF
                 3538K
                 FN{D13F37F4-3E47-4C0F-845B-3B66C439F983}{F6FED901-556C-4B8C-ADAA-9621149CEF9D}-0.PDF
                 232K




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                                                          Exhibit 3
                                                                                  Lolonyon Akouete <info@smartinvestorsllc.com>



         In re Westborough SPE LLC - FOR SETTLEMENT PURPOSES ONLY
         Scott A. Schlager <sas@natgolaw.com>                                              Thu, Feb 8, 2024 at 5:44 PM
         To: "jgoldsmith@gkalawfirm.com" <jgoldsmith@gkalawfirm.com>
         Cc: "sgordon@gordonfirm.com" <sgordon@gordonfirm.com>, Lolonyon Akouete <info@smartinvestorsllc.com>,
         "deniseedwards818@yahoo.com" <deniseedwards818@yahoo.com>, "Lenard B. Zide" <zide@buttersbrazilian.com>


           FOR SETTLEMENT PURPOSES ONLY



           Jonathan,



           Thank you for taking the time to speak with me this afternoon. Per your suggestion, and after speaking with Lolo,
           Denise, and Attorney Zide, I am putting the following Settlement Proposal in writing per our discussion.



                1. The Trustee is in receipt of the unclaimed funds from California which approximate $1,293,000.
                2. The Trustee would use his best efforts to try and get all creditors paid within approximately 90 days +|- (see
                   caveats below *)
                3. The Trustee shall use those CA funds to pay off the creditor claims as follows:
                       a. Denise Edwards - $150,000.00 at time of creditor distributions
                       b. Lolonyon Akouete:

                                                                i.   $250,000.00 at time of creditor distributions

                                                            ii. Remaining proceeds after payment of all creditors estimated to
                                     be approximately $150-200k +|- paid to Lolo.

                                                               iii. Lolo would have a right to hire a new lawyer and pursue a claim
                                     in an “interpleader” action for the excess sale proceeds from the Real Property sale at 231
                                     Turnpike Road, Westborough, MA turned over by the Town of Westborough at the Closing by
                                     the Escrow Agent.

                       c. Nathanson & Goldberg, P.C. would be paid its to be filed revised Proof of Claim amount approximately
                          $115k at time of creditor distributions.
                       d. Mobile Street Trust to be paid its original proof of claim amount of roughly $367,131.

                                                               i. Mobile Trust to have Town agree to a lien in the amount of
                                     $166,500 being placed on 231 Turnpike Road for additional amounts owed under the
                                     Reciprocal Easement Agreement to be paid at time of closing of the sale of the real property.
                                     If Town would not agree, then Mobile Trust to have a priority lien on sale proceeds in the
                                     “interpleader” action.

                        e. Darren Clagg to be paid his claim amount
                         f. All Other creditors to be paid their claim amount
                3. Lolo to not object to Trustees payment of creditors.
                4. Lolo to not object to Trustee allowing Town to sell property to their buyer of choice.
                5. Land Court case will be dismissed by stipulation of the Trustee and the Town.
                6. Federal Case will be dismissed by stipulation of the Trustee and the Town.
                7. David Ferris to get paid his claim of $10k plus up to $90k for due diligence costs, etc. (to be paid either by the
                   Town out of the real property sale proceeds or by the Bankruptcy Estate or split). Bankruptcy Trustee to speak
                   with Counsel for Ferris shortly.
                8. *All subject to approval by the US Trustee and Judge Panos/Bankruptcy Court; the parties signing necessary



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                    settlement documents/stipulations to be drafted by Trustee



           Does this reflect what you propose?



           Thank you so much for your assistance.



           -Scott



           Scott A. Schlager
           Partner
           Nathanson & Goldberg, P.C.
           183 State Street, 5th Floor
           Boston, Massachusetts 02109
           (O): (617) 210-4800
           (C): (617) 909-4511
           (F): (617) 210-4824
           sas@natgolaw.com


           **************************************************
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                                   CERTIFICATE OF SERVICE

I, Lolonyon Akouete, hereby certify that the above document is served by email and mailing a copy of
the same, first-class mail, to the following:

Stephen F. Gordon, Attorney of the Petitioners            Paul W. Carey, Attorney of Creditor
(Email: sgordon@gordonfirm.com)                           FERRIS DEVELOPMENT GROUP, LLC
The Gordon Law Firm LLP                                   (Email: pcarey@mirickoconnell.com)
River Place 57 River Street Wellesley, MA 02481            Mirick, O’Connell, DeMallie & Lougee, LLP
                                                          100 Front Street, Worcester, MA 01608
Scott A. Schlager on behalf of,
Nathanson & Goldberg, P.C., a creditor.                   Brian W. Riley, Attorney of Creditor
(Email: sas@natgolaw.com)                                 Jeffrey T. Blake, Attorney of Creditor
183 State Street, 5th Floor Boston, MA 02109              Roger L. Smerage, Attorney of Creditor
                                                          TOWN OF WESTBOROUGH
Assistant U.S. Trustee                                    (Email: briley@k-plaw.com)
Richard King                                              (Email: jblake@k-plaw.com)
Office of US. Trustee                                     (Email: rsmerage@k-plaw.com)
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Chapter 7 Trustee                                          David M Abromowitz
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                                                            walter.horst@babcockbrown.com




                                   ____________________
                                     ______________
                                     olonyon Y Akouete
                                    Lolonyon   Akoue
